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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,
Plaintiff,
Case No. 21-CR-30037-DWD

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vs. )
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DEARRIS D. GUTHRIE, )
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Defendant.

PRELIMINARY ORDER OF FORFEITURE

 

DUGAN, District Judge:

In the Indictment filed in the above cause on March 16, 2021, the United States of
America sought forfeiture of property of Defendant Dearris D. Guthrie pursuant to 18
U.S.C. § 924(d) (Doc. 1). Guthrie pleaded guilty on October 27, 2021 (Doc. 40), and, upon
consideration of the guilty plea, the Court FINDS forfeitable and ORDERS forfeited the
following property:

a Ruger LCP, .380 semi-automatic firearm bearing serial number
380081921, and any and all ammunition contained therein.

The United States, under the authority of 21 U.S.C. § 853(n)(1), shall “publish
notice of the order and of its intent to dispose of the property in such matter as the
Attorney General may direct,” to provide notice of the forfeiture and of the right of
persons other than the defendant who have any claim or legal interest in any of the
property to file a petition with the Court. The notice shall be provided in a manner
consistent with Supplemental Rule G(4)(a) of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions.

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The notice shall state that the petition shall: be set for a hearing to adjudicate the
validity of the petitioner's alleged interest in the property; be signed by the petitioner
under penalty of perjury; and set forth the nature and extent of the petitioner's right, title,
or interest in the forfeited property and any additional facts supporting the petitioner's
claim and the relief sought.

The United States shall, also to the extent practicable, provide direct written notice
to any person known to have alleged an interest in the property that is the subject of the
Order for Forfeiture, as the substitute for the published notice to those persons so
notified. Upon the filing of a petition alleging third-party interests in the property, the
Court may amend this Order to resolve the claimed third-party interests.

The United States Marshals shall seize and reduce to his possession, if he has not
already done so, the above-described property.

This Order, pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure,
shall become final with respect to Defendant Dearris D. Guthrie at the time of Defendant's
sentencing, regardless of whether or not the rights of actual or potential third-party
petitioners have been determined by that time. This Order shall be made part of the
sentence of Defendant Dearris D. Guthrie and shall be included in the Judgment imposed
against the Defendant. See FED. R. CRIM. P. 32.2(b)(4). Although this Order will be final
with respect to the Defendant at the time of sentencing, it may be amended with respect

to petitions filed by third-parties claiming an interest in the subject-matter forfeited

property.
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The United States may abandon forfeiture of the property by filing notice of the

abandonment with the Court.
SO ORDERED.
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Dated: December 7, 2021

 

DAVID W. DUGAN
United States District Judge
